                                                     U.S. Department of Justice
                                                     United States Attorney
                                                     Western District of New York

                                                     Federal Center                                  716/843-5700
                                                     138 Delaware Avenue                         fax 716/551-3052
                                                     Buffalo, New York 14202   Writer's Telephone: 716/843-5839
                                                                                      Writer's fax: 716/551-3052
                                                                                       Casey.Chalbeck@usdoj.gov


                                                     December 18, 2024
Hon. Lawrence J. Vilardo
United States District Judge
Robert H. Jackson United States Courthouse
2 Niagara Square
Buffalo, New York 14202

               Re:     United States of America v. Peter Gerace, Jr.,
                       Case Numbers: 19-CR-227-LJV; 23-CR-37-LJV
                       Rebuttal Summation

Dear Judge Vilardo:

       This letter is provided in reference to assist the Court in evaluating the proper bounds
of rebuttal summation in the event the defendant makes arguments pertaining to witnesses
who did not testify.

       It is well-settled that when a defendant argues to the jury that by not calling certain
witnesses the prosecutor had effectively concealed from the jury evidence that would have
been favorable to the defense, the prosecutor is “entitled to point out in response that the
defendant ‘also has a ... right to call witnesses if he wants to.’” United States v. Drescher, 77 F.
App'x 45, 47–48 (2d Cir. 2003) (quoting United States v. Panza, 750 F.2d 1141, 1153 (2d
Cir.1984)). In Panza, the government “properly argued in its rebuttal summation, after a
defendant had asked the jury to infer from the government’s failure to call certain witnesses
that they would not have been helpful to it, that the witnesses were equally available to be
subpoenaed by the defendants, from which the jury could infer that they would not have been
helpful to the defendants.” 750 F.2d at 1153 (collecting cases).

      In United States v. Kanovsky, the appellant argued that the comments upon his right to
subpoena witnesses made in rebuttal summation deprived him of a fair trial. During the
government's summation, the following exchange occurred:

       Government: “First of all, the Judge will instruct you that the defendant has
       subpoena power, and could call in those very same people. And you can be
       sure that if those people (meaning marshalls (sic) and auctioneers) had anything
       to say which was helpful, they would have been here. He would have called
       them here, because both sides can call . . .
       Defense Counsel: Your Honor, I object to misstating the principle of law
       regarding the obligation of the defendant.

       The Court: A defendant doesn't have to offer any proof. But, of course, the jury
       can be advised that the defendant has subpoena powers and the defendant can
       call anyone in. The defendant could have subpoenaed marshalls (sic),
       auctioneers and buyers. Continue.”

United States v. Kanovsky, 618 F.2d 229, 232 (2d Cir. 1980). The Second Circuit affirmed the
conviction and stated, in pertinent part, that “the prosecutor's remarks in rebuttal summation
with respect to the defendant's power to subpoena witnesses did not deprive defendants of
their right to rely on the Government's failure of proof, where the remarks were made in
response to defense summations referring to the failure of the Government to produce certain
witnesses.” Id.

       The government previously briefed this issue in its Pre-trial Memorandum and Motion in
Limine, filed on April 26, 2023 (see Doc. No. 441 [Point 41] at 187), which is incorporated
herein by reference as though set forth fully herein. The defendant never responded to the
government’s briefing or provided any contrary legal authority. As a result, in the event the
defendant argues that certain witnesses did not testify at trial (consistent with the defense cross
examination of summary witness FBI Special Agent Brian Burns), the government intends to
respond, as permitted by law, that the defense has a “right to call witnesses if he wants to.”
See Panza, 750 F.2d at 1153.1



                                                     Very truly yours,

                                                     TRINI E. ROSS
                                                     United States Attorney

                                             BY:     s/JOSEPH M. TRIPI
                                                     Assistant United States Attorney




1
 The undersigned typically makes this argument on rebuttal summation while embracing the
government’s burden of proof—beyond a reasonable doubt—and advising the jury that the
proof presented meets and/or exceeds the government’s burden.


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